         Case 7:17-cv-09121-PMH Document 100 Filed 11/03/21 Page 1 of 2


 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 NELSON A. MURRAY,
                                                               ORDER
                          Plaintiff,
                                                               17-CV-09121 (PMH)
 v.

 DUTCHESS COUNTY EXECUTIVE
 BRANCH, et al.,

                           Defendants.
 ---------------------------------------------------------X

PHILIP M. HALPERN, United States District Judge:

        Counsel for all parties appeared via telephone at 10:30 a.m. today. By November 5, 2021,

Defendants are directed to provide Plaintiff with copies of the deposition transcripts identified

during the conference that not have not yet been provided to Plaintiff. Also by November 5, 2021,

Plaintiff is directed to provide Defendants with copies of the deposition transcripts identified

during the conference that have not yet been provided to Defendants. To the extent that any

deposition transcript(s) is not available by November 5, 2021, such transcript(s) shall be provided

as soon as it becomes available. In accordance with this Court’s Individual Practice Rule 4.E.,

Defendants are directed to serve their Rule 56.1 Statement by December 3, 2021; Plaintiff is

directed to respond to the 56.1 Statement in a single document, in compliance with the Court's

Individual Practice Rule 4.E.iv., by December 20, 2021. Defendants are directed to file their pre-

motion letter and Rule 56.1 Statement by December 22, 2021; Plaintiff is directed to file his letter

in opposition by December 27, 2021. Plaintiff, should he be so advised, shall file his motion for

class certification by December 3, 2021; Defendants shall file their opposition by December 17,

2021; Plaintiff shall file his reply by December 24, 2021.

        In light of Plaintiff’s representation during the conference that he wishes to dismiss all

claims against defendant James Dewitt, the parties are further directed to file a proposed stipulation

and order by November 5, 2021 dismissing defendant James Dewitt from this action.
       Case 7:17-cv-09121-PMH Document 100 Filed 11/03/21 Page 2 of 2


SO ORDERED:

Dated: White Plains, New York
       November 3, 2021
                                   ____________________________
                                   Hon. Philip M. Halpern
                                   United States District Judge
